USDC IN/ND case 3:05-cv-00102-AS-CAN                   document 33      filed 06/22/06     page 1 of 4


                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF INDIANA
                                   SOUTH BEND DIVISION

TIMOTHY J. DUGLE,                                  )
                                                   )
       Plaintiff,                                  )
                                                   )
       v.                                          )         CAUSE NO. 3:05-CV-102 AS
                                                   )
DURO, INC., et al.,                                )
                                                   )
       Defendant.                                  )

                                      ORDER AND OPINION

       On June 20, 2006, the parties submitted a stipulation which appears to be a stipulation

regarding a protective order requesting that this Court issue a protective order covering various

information in the underlying litigation. For the following reasons, this Court declines to adopt and

sign the parties’ proposed protective order. The parties may resubmit a proposed protective order

which comports with Seventh Circuit precedent for this Court’s consideration.

I.     APPLICABLE STANDARDS

       When granting a proposed protective order, this Court must independently determine

whether "good cause" exists to seal the requested information from the public record. Fed.R.Civ.P.

26(c); Citizens First National Bank of Princeton v. Cincinnati Insurance Co., 178 F.3d 943, 944 (7th

Cir.1999). In doing so, this Court must not grant parties carte blanche to seal or protect whatever

they desire. Citizens, 178 F.3d at 944; See also Pierson v. Indianapolis Power & Light Co., 205

F.R.D. 646, 647 (S.D. Ind. 2002) (“Independent and careful evaluations of protective orders are

especially important because ‘[t]he judge is the primary representative of the public interest in the

judicial process....’”) (quoting Citizens, 178 F.3d at 945). In other words, this Court cannot serve as

a rubber stamp whenever parties wish to seal public records, but must review all requests to seal

documents in light of the public interest in the judicial process. Citizens, 178 F.3d at 945 (citing In
USDC IN/ND case 3:05-cv-00102-AS-CAN                   document 33      filed 06/22/06     page 2 of 4


re Krynicki, 983 F.2d 74 (7th Cir.1992); Miller, Arthur M., Confidentiality, Protective Orders, and

Public Access to the Courts, 105 Harv. L.Rev. 427, 492 (1991)).

       When reviewing an agreed protective order seeking to seal documents produced in

discovery, this Court must ensure that “(1) the information sought to be protected falls within a

legitimate category of confidential information, (2) the information or category sought to be

protected is properly described or demarcated, (3) the parties know the defining elements of the

applicable category of confidentiality and will act in good faith in deciding which information

qualifies thereunder, and (4) the protective order explicitly allows any party and any interested

member of the public to challenge the sealing of particular documents.” Pierson, 205 F.R.D. at 647

(citing Citizens, 178 F.3d at 946). This Court may issue a protective order in this case pursuant to

its referral order and 28 U.S.C. § 636(b)(1)(A).

II.    ANALYSIS

       The parties’ proposed order falls short of the above standard for two reasons. First, the

parties fail to adequately describe which documents are to be protected; and second, the order

contains no language explicitly allowing interested members of the public to challenge the sealing

of particular documents.

       A.      Proper Description of Documents

       This Court’s evaluation of proposed protective orders for good cause need not be made on a

document-by-document basis. Citizens, 178 F.3d at 946 (“In a case with thousands of documents,

such a requirement might impose an excessive burden on the district judge or magistrate judge.”).

Parties may “keep their trade secrets (or some other properly demarcated category of legitimately

confidential information) out of the public record, provided the judge. . .satisfies himself that the




                                                   2
USDC IN/ND case 3:05-cv-00102-AS-CAN                    document 33     filed 06/22/06     page 3 of 4


parties know what a trade secret is and are acting in good faith in deciding which parts of the record

are trade secrets.” Id.

         The parties’ proposed order falls short of this standard. The proposed order seeks to give

the parties carte blanche over any other documents which they deem confidential. Nowhere in the

parties’ proposed order is confidential information or “protected material” ever defined. As it

stands, the parties’ proposed order does not limit protected documents to discrete categories by

date, source, contents, or any other means, but rather seeks to expand the order’s reach to any

document a party believes is protected. The proposed order covers documents without specific

limitations as to what material is protected. It simply fails to provide sufficient protection against

improper sequestration of public records. For the proposed document to comport with circuit

precedent and the Federal Rules, the parties need to limit the order in scope to ascertainable

categories, demonstrating that the protected information is in fact confidential and protected in good

faith.

         B.     Ability of any Interested Member of the Public to Challenge the Sealing of Particular
                Documents

         “The right to intervene to challenge a closure order is rooted in the public's well-established

right of access to public proceedings.” Jessup v. Luther, 227 F.3d 993, 997 (7th Cir. 2000). In

granting protective orders, judges are thus “the primary representative[s] of the public interest in the

judicial process" and must require that a “protective order explicitly allows any party and any

interested member of the public to challenge the sealing of particular documents.” Pierson, 205

F.R.D. at 647 (citing Citizens, 178 F.3d at 945-46). Parties have failed to include any provision

which would explicitly allow any party and any interested member of the public to challenge the

sealing of particular documents.


                                                    3
USDC IN/ND case 3:05-cv-00102-AS-CAN                    document 33      filed 06/22/06     page 4 of 4



III .   CONCLUSION

        Because the parties’ stipulated protective order is overbroad in scope, this Court declines to

adopt and sign the parties’ proposed order submitted on June 20, 2006. The parties may resubmit

their proposed order in light of the standards set forth in this order and the citations herein.

        SO ORDERED.

        Dated this 22nd day of June, 2006.


                                                        s/Christopher A. Nuechterlein
                                                        Christopher A. Nuechterlein
                                                        United States Magistrate Judge




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